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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


MANUEL JIMENEZ-VALDEZ,

        Plaintiff,                             Case No. 2:21-cv-13046
                                               District Judge Linda V. Parker
v.

CO HUTCHERSON, CO WATSON,
CTO TORIANO HUDSON and CTO
BEVERLY WATSON,

        Defendants.

_________________________________/

          ORDER GRANTING MOTION TO EXCLUDE CASE FROM
          EARLY MEDIATION (ECF No. 9) AND LIFTING THE STAY

        This is a prisoner civil rights case. On February 16, 2022, the case was

stayed so that the parties could participate in the pro se prisoner early mediation

program. (ECF No. 7).

        Before the Court is the Michigan Attorney General’s Office (AG) motion to

exclude the case from early mediation. (ECF No. 9). The AG’s Office, on behalf

of the Michigan Department of Corrections (MDOC), has indicated that it would

be willing to participate in mediation in every type of case except:

        1)     Parole Appeals;
        2)     Expungement of Misconducts;
        3)     Cases where exhaustion issues would get rid of the entire lawsuit
               against all defendants;
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       4)      Cases that could have been screened out and dismissed by the court
               for other legitimate reasons; and
       5)      Cases in which MDOC has determined that the employee/defendant is
               not entitled to legal representation at state expense pursuant to Civil
               Service Rule 2-19.

       The AG’s Office says that this case falls under the last exception,

explaining:

               In his complaint, Plaintiff alleges, inter alia, that he was
               physically injured as a result of actions/inactions by Defendants CTS
               Toriano Hudson and CTO Beverly Watson
               …
               Because the conduct alleged in Plaintiff’s complaint was not
               within the scope of Defendants CTO Toriano Hudson and CTO
               Beverly Walton’s employment or authority, they are not entitled to
               legal representation by the Department of Attorney General or at state
               expense.

(ECF No. 9, PageID.37).

       Because the AG’s Office stated reason falls within the exceptions to

mediation, the motion to exclude is GRANTED. The stay is LIFTED and this

case is returned to the docket of the district judge and shall resume the regular case

progression.

       SO ORDERED.



Dated: March 8, 2022                             s/Kimberly G. Altman
Detroit, Michigan                                KIMBERLY G. ALTMAN
                                                 United States Magistrate Judge




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                         CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court’s ECF System to
their respective email or First Class U.S. mail addresses disclosed on the Notice of
Electronic Filing on March 8, 2022.


                                             s/Carolyn Ciesla
                                             CAROLYN CIESLA
                                             Case Manager




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